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                                                          June 13, 2023

BY ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007



         Re: United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        On behalf of our client, Samuel Bankman-Fried, we respectfully submit this letter to
update the Court on the proceedings in the Supreme Court of The Bahamas (the “Supreme Court”)
discussed in the Omnibus Reply Memorandum of Law in Support of Samuel Bankman-Fried’s
Pretrial Motions filed yesterday. See ECF No. 158 at 1, 5-6, 13-14.

        In the attached written ruling issued earlier this afternoon, the Supreme Court granted Mr.
Bankman-Fried’s application for leave to seek judicial review of the Bahamian Attorney General’s
(the “Attorney General”) determination that Mr. Bankman-Fried does not have a right to be heard
before the Bahamian Minister of Foreign Affairs (the “Minister”) decides whether or not to grant
the specialty waiver request submitted by the United States government (the “Government”). See
Ex. A ¶ 81(ii). In doing so, the Supreme Court determined that Mr. Bankman-Fried’s claims
concerning his right to be heard and to invoke the rule of specialty had “a real prospect of
success.” Id. ¶¶ 36, 38.

        In addition to granting Mr. Bankman-Fried’s application for leave to seek judicial review,
the Supreme Court enjoined the Minister and Attorney General from providing consent for the
requested specialty waiver until a final determination of Mr. Bankman-Fried’s application for
judicial review has been rendered. Id. ¶¶ 16(ix), 81(iii). The Minister and the Attorney General
are thus currently enjoined from providing consent.

        The Supreme Court also ordered the parties to “take steps to have the application for
judicial review heard and determined in an expedited manner.” Id. ¶ 81(v). No specific schedule
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  has yet been set. Mr. Bankman-Fried intends to file an application for judicial review as directed
  by the Supreme Court and to continue pursuing his legal rights in The Bahamas. The ongoing
  proceedings in The Bahamas support dismissing (or, alternatively, severing) Counts 4, 6, 9, 10, 12
  and 13. See ECF No. 158 at 5-6, 13-16.




                                                           Respectfully submitted,



                                                             /s/ Mark S. Cohen       .
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